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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. Cr. 2:10-cr-305 LKK
12                                 Plaintiff,               STIPULATION REGARDING
                                                            EXCLUDABLE TIME PERIODS
13   v.                                                     UNDER SPEEDY TRIAL ACT;
                                                            FINDINGS AND ORDER
14   MIKE POURSARTIP, et. al.,
15                                 Defendant,
16

17                                              STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants, by
19
     and through their counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for status on November 27, 2012.
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            2.       By this stipulation, defendants now move to continue the status conference until
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23 January 8, 2013 and to exclude time between November 27, 2012 and January 8, 2013 under Local

24 Code T4 and T2. Plaintiff does not oppose this request.

25          3.       The parties agree and stipulate, and request that the Court find the following:
26          a.       The government has represented that the discovery associated with this case includes
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     investigative reports and related documents in electronic form, voluminous records related to a state
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                                                        1
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     agency’s purchase of equipment and services during a multi-year timespan, and multiple boxes of
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     related agency records. All of this discovery in the Government’s possession has been either
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 3 produced directly to counsel and/or made available for inspection and copying. In light of the

 4 voluminous discovery and the nature of the charges, the Court has previously found this case to be

 5 complex within the meaning of Local Code T2.

 6
              b.       Counsel for defendants desire additional time to conduct investigation and research
 7
     related to the charges, to review and copy discovery for this matter, and to otherwise prepare for
 8
     trial.
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10            c.       Counsel for defendants believe that failure to grant the above-requested continuance

11 would deny him/her the reasonable time necessary for effective preparation, taking into account the

12 exercise of due diligence.

13            d.       The government does not object to the continuance.
14
              e.       Based on the above-stated findings, the ends of justice served by continuing the case
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     as requested outweigh the interest of the public and the defendant in a trial within the original date
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     prescribed by the Speedy Trial Act.
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18            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

19 seq., within which trial must commence, the time period of November 27, 2012 to January 8, 2013

20 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

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     because it results from a continuance granted by the Court at defendant’s request on the basis of the
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     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
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     public and the defendant in a speedy trial.
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              This time period is also deemed excludable pursuant to 18 U.S.C. §.§ 3161(h)(7)(A), (B)(ii)
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26 and Local Code T2.

27            4.       Nothing in this stipulation and order shall preclude a finding that other provisions of
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                                                           2
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     the Speedy Trial Act dictate that additional time periods are excludable from the period
 1
     within which a trial must commence.
 2

 3 IT IS SO STIPULATED.

 4

 5 DATED:           11/26/2012

 6
                                           /s/ Michele Beckwith
 7                                         MICHELE BECKWITH
                                           Assistant United States Attorney
 8

 9
     DATED:         11/26/2012
10

11                                         /s/ Richard Pachter
                                           RICHARD PACHTER
12                                         Counsel for Mike Poursartip

13
     DATED:         11/26/2012
14

15                                         /s/ Christopher H. Wing
                                           CHRISTOPHER H. WING
16                                         Counsel for Sara Shirazi

17

18                                                ORDER

19
            IT IS SO FOUND AND ORDERED this 26th day of November, 2012.
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